          Case 4:13-md-02420-YGR Document 918 Filed 10/26/15 Page 1 of 4



 1   [Counsel for stipulating parties listed on signature pages]

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10                                          OAKLAND DIVISION

11   IN RE: LITHIUM ION BATTERIES                          Case No. 4:13-md-02420-YGR
     ANTITRUST LITIGATION                                  MDL No. 2420
12
                                                           JOINT STIPULATION AND [PROPOSED]
13   This Document Relates to:                             ORDER SETTING BRIEFING SCHEDULE
                                                           AND HEARING DATE FOR THE
14   Case No. 4:15-cv-03443-YGR                            PANASONIC & SANYO DEFENDANTS
                                                           MOTION TO DISMISS AND COMPEL
15   MICROSOFT MOBILE INC. AND                             ARBITRATION
     MICROSOFT MOBILE OY,
16             Plaintiffs                                  *AS MODIFIED BY THE COURT*

17   v.
18   LG CHEM AMERICA, INC., et al.,
               Defendants
19

20

21

22

23

24

25

26

27

28
           JOINT STIPULATION RE: SCHEDULE FOR MOTION TO DISMISS AND COMPEL ARBITRATION
                       CASE NO. 4:15-cv-03443-YGR; MASTER FILE NO. 4:13-cv-02420-YGR
         Case 4:13-md-02420-YGR Document 918 Filed 10/26/15 Page 2 of 4



 1          Pursuant to Civil L.R. 6-2 & 7-12, Defendants Panasonic Corporation, Panasonic

 2   Corporation of North America, SANYO Electric Co., Ltd., and SANYO North America Corporation

 3   (together, the “Panasonic & Sanyo Defendants”) and Plaintiffs Microsoft Mobile Inc. and Microsoft

 4   Mobile Oy (“Plaintiffs”) respectfully request that the Court enter the following stipulation to set the

 5   briefing schedule and hearing date for Panasonic & Sanyo Defendants Motion To Dismiss and

 6   Compel Arbitration as set forth below.

 7          WHEREAS, on October 13, 2015, the Panasonic & Sanyo Defendants filed a Motion To

 8   Dismiss and Compel Arbitration (ECF No. 17 in the individual action, Case No. 4:15-cv-03443, and

 9   ECF No. 892 in the master file, Case No. 4:13-cv-02420) (the “Motion”);

10          WHEREAS, the Motion was noticed for hearing on November 17, 2015, the earliest date

11   available on the Court’s calendar pursuant to Civil L.R. 7-2(a);

12          WHEREAS, pursuant to Civil L.R. 7-3, Plaintiffs’ brief in opposition to the Motion is

13   currently due on October 27, 2015, and the Panasonic & Sanyo Defendants’ reply brief is currently

14   due on November 3, 2015;

15          WHEREAS the parties have conferred and have agreed to the briefing schedule and hearing

16   date set forth below, which accommodates the international travel schedules of counsel for the

17   parties, and will present the issues raised in the Motion to the Court in as timely a manner as

18   practicable;

19          WHEREAS, pursuant to Civil L.R. 6-2(a), the parties state that the only previous time

20   modification in the case was the Stipulation Regarding Service of Summons and Complaint, which

21   the Court endorsed on August 12, 2015;

22          WHEREAS, pursuant to Civil L.R. 6-2(a), the undersigned counsel declare under penalty of

23   perjury under the laws of the United States of America that the facts contained in this stipulation are

24   true and correct;

25          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs and the

26   Panasonic & Sanyo Defendants, that:

27          1. Plaintiffs shall file any brief in opposition to the Panasonic & Sanyo Defendants’ Motion

28              no later than November 3, 2015;
           JOINT STIPULATION RE: SCHEDULE FOR MOTION TO DISMISS AND COMPEL ARBITRATION
                       CASE NO. 4:15-cv-03443-YGR; MASTER FILE NO. 4:13-cv-02420-YGR
                                                    -1-
         Case 4:13-md-02420-YGR Document 918 Filed 10/26/15 Page 3 of 4



 1         2. The Panasonic & Sanyo Defendants shall file their reply brief no later than November

 2             17, 2015; and

 3         3. The hearing for the Motion is scheduled for December 8, 2015, at 2:00 p.m..

 4

 5                                      [PROPOSED] ORDER
 6         PURSUANT TO STIPULATION, IT IS SO ORDERED.
 7         This Order terminates Docket Number 909 in the Master File and Docket Number 18 in Case
 8   No. 15-cv-03443.
 9

10   Dated: October 26, 2015

11

12
                                                   HON. YVONNE GONZALEZ ROGERS
13                                                  UNITED STATES DISTRICT JUDGE
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
          JOINT STIPULATION RE: SCHEDULE FOR MOTION TO DISMISS AND COMPEL ARBITRATION
                      CASE NO. 4:15-cv-03443-YGR; MASTER FILE NO. 4:13-cv-02420-YGR
                                                   -2-
         Case 4:13-md-02420-YGR Document 918 Filed 10/26/15 Page 4 of 4



 1   Dated: October 21, 2015                             Respectfully submitted,
 2   By: _ /s/ B. Parker Miller_________________         By: /s/ Jeffrey L. Kessler
 3   Lance A. Termes (lance.termes@alston.com)           Jeffrey L. Kessler (pro hac vice)
     (Wa. Bar No. 29729)                                 jkessler@winston.com
 4   ALSTON & BIRD LLP                                   A. Paul Victor (pro hac vice)
     1950 University Avenue, 5th Floor                   pvictor@winston.com
 5   East Palo Alto, CA 94303-2282                       Eva W. Cole (pro hac vice)
     Telephone: 650-838-2000                             ewcole@winston.com
 6   Facsimile: 650-838-2001                             Jeffrey J. Amato (pro hac vice)
                                                         jamato@winston.com
 7   James C. Grant (pro hac vice)                       Erica C. Smilevski (pro hac vice)
     jim.grant@alston.com                                esmilevski@winston.com
 8   Valarie C. Williams (pro hac vice)                  WINSTON & STRAWN LLP
     valarie.williams@alston.com                         200 Park Avenue
 9   B. Parker Miller (pro hac vice)                     New York, NY 10166-4193
     parker.miller@alston.com                            Telephone: (212) 294-4601
10   Edward P. Bonapfel (pro hac vice)                   Facsimile: (212) 294-4700
     ed.bonapfel@alston.com
11   ALSTON & BIRD LLP                                   Ian L. Papendick (SBN 275648)
     1201 West Peachtree Street                          ipapendick@winston.com
12   Atlanta, Georgia 30309                              WINSTON & STRAWN LLP
     Telephone: 404-881-7000                             101 California Street
13   Facsimile: 404-881-7777                             San Francisco, CA 94111
                                                         Telephone: (415) 591-6904
14   Attorneys for Plaintiffs Microsoft Mobile Inc.      Facsimile: (415) 591-1400
     and Microsoft Mobile Oy
15                                                       Roxann E. Henry (pro hac vice)
                                                         MORRISON & FOERSTER LLP
16                                                       2000 Pennsylvania Avenue, NW
                                                         Suite 6000
17                                                       Washington, DC 20006
                                                         rhenry@mofo.com
18                                                       Telephone: (202) 887-1500
                                                         Facsimile: (202) 887-0763
19
                                                         Counsel for Panasonic Corporation,
20                                                       Panasonic Corporation of North America,
                                                         SANYO Electric Co., Ltd., and
21                                                       SANYO North America Corporation
22

23                Pursuant to N.D. Cal. Civ. L.R. 5-1(i)(3), the filer attests that concurrence
                   in filing of this document has been obtained from the above signatories.
24

25

26

27

28
           JOINT STIPULATION RE: SCHEDULE FOR MOTION TO DISMISS AND COMPEL ARBITRATION
                       CASE NO. 4:15-cv-03443-YGR; MASTER FILE NO. 4:13-cv-02420-YGR
                                                    -3-
